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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

KENNETH COOK, JOHN WILLIAM                     §           C.A. No.: 4:16-cv-00542
COOK, JAMES HANNA, REBECCA                     §
WALKER JENSEN, JAMES KENT and                  §
DEERFIELD INVESTMENTS LTD, each                §
Individually, and on behalf of those           §           JURY TRIAL DEMANDED
similarly situated,                            §
                                               §
       Plaintiffs,                             §
V.                                             §
                                               §
AT&T CORP.                                     §
                                               §          CLASS ACTION PURSUANT TO
       Defendant.                              §           FED. R. CIV. P. 23



MARTHA COOK, EXECUTOR                           §
OF THE ESTATE OF DOYCE COOK,                    §
                                                §
PLAINTIFF                                       §
                                                §          C.A. No.: 4:16-cv-00381
                                                §
V.                                              §
                                                §
AT&T CORP.,                                     §
                                                §
DEFENDANT                                       §          JURY TRIAL DEMANDED


                          PLAINTIFFS’ INITIAL DISCLOSURES

       Plaintiffs Kenneth Cook, Martha Cook, John William Cook, James Hanna, Rebecca

Walker Jensen, James Kent, and Deerfield Investments Ltd, individually and as representatives

of the putative class defined herein (the “Class”), make these initial disclosures as required by

Federal Rule of Civil Procedure 26(a)(1).
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I.     INITIAL DISCLOSURES

                         A. Individuals with Discoverable Information

1.     The names, addresses (work and home), and telephone numbers (work and home) of
       individuals likely to have discoverable information that Plaintiff may use to support his
       claims are:

       Plaintiffs Kenneth Cook, Martha Cook, John William Cook, James Hanna, Rebecca
       Walker Jensen, James Kent, and Deerfield Investments Ltd, individually and as
       representatives of the putative class defined herein
       c/o The Buzbee Law Firm
       600 Travis St., Ste. 7300
       Houston, Texas 77002
       (713) 223-5393

       AT&T Corp, and their employees
       c/o Haynes and Boone
       2323 Victory Avenue, Suite 700
       Dallas, Texas 75219
       (214) 651-5000

                          B. Relevant Documents & Tangible Things

2.     Such documents have been produced.

                      C. Information Related to Calculation of Damages

3.     Such documents have been produced. Please refer to Plaintiffs’ experts’ reports.
       Discovery is ongoing, and Plaintiffs reserve the right to supplement.

                                         D. Insurance

4.     Not applicable.

II.    DISCLOSURE OF EXPERT TESTIMONY:

       A.     Identity of any person who may be used at trial to present evidence under rules
              702, 703, or 705 of the Federal Rules of Evidence.

              Bryan E. Vento
              Environmental Evaluations & Consulting:
              4510 Windy Hollow
              Kingwood, Texas 77345
              (281) 361-7174




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       David Howell
       Pipeline Equities
       510 Bering, Suite 300
       Houston, Texas 77057
       (713) 623-0090

       Ronald E. Plackemeier
       Lyons & Plackemeier
       518 9th Ave. N
       Texas City, Texas 77502
       (409) 797-4149

 B.    Experts’ written reports.

       Such documents have been produced.

                                       Respectfully submitted,

                                       THE BUZBEE LAW FIRM

                                       /s/ Andrew Dao
                                       Anthony G. Buzbee
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                                       Federal Bar No. 22679
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                                       ATTORNEYS FOR PLAINTIFFS




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document will be served or has been
served on all interested parties in accordance with the Federal Rules of Civil Procedure on July
21, 2017. Service on E-Filing Users will be automatically accomplished through the Notice of
Electronic Filing; non-Filing Users will be served by certified mail, return receipt requested
and/or via facsimile.


                                                           /s/ Andrew Dao
                                                           Andrew Dao




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